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                          Declaration of Laura Lunn

I, Laura Lunn, make the following declaration based on my personal knowledge and declare
under the penalty of perjury pursuant to 28 U.S.C. § 1746 as follows:
   1. I am an attorney licensed to practice law in the State of Oregon. My business address
      is 7301 Federal Boulevard, Suite 300, Westminster, Colorado 80030.
   2. I have been practicing law since 2011. I am the Director of Advocacy & Litigation at
      Rocky Mountain Immigrant Advocacy Network (RMIAN). In my current role, I work
      alongside RMIAN’s staff members to identify trends and patterns that are negatively
      impacting our clients. With this information, we determine whether litigation or
      broader advocacy is the best mechanism to challenge systemic problems our clients
      face. Previously, I served as the Detention Program Managing Attorney for RMIAN,
      where I oversaw a team of attorneys and advocates offering legal services to people in
      Immigration and Customs Enforcement (ICE) detention. Before joining RMIAN, I
      was the interim Managing Attorney at the CARA Pro Bono Project at the family
      detention center in Dilley, Texas, and prior to that provided legal advocacy in support
      of families detained in Artesia, New Mexico. I also worked in private practice in both
      Portland, Oregon and Denver, Colorado. Directly after law school I clerked for two
      years with the U.S. Attorney General’s Honors Program where I worked for the
      Executive Office for Immigration Review (EOIR) at both the detained and non-
      detained immigration courts in El Paso, Texas.
   3. My practice primarily involves federal court litigation and removal defense for adults
      detained at the Aurora ICE Contract Detention Facility in Colorado, including people
      facing expedited removal. I have represented both detained and non-detained clients
      placed in expedited removal proceedings when they have credible fear interviews
      before an asylum officer (AO) who works for U.S. Citizenship and Immigration
      Services (USCIS) as well as in hearings where an immigration judge reviews negative
      fear findings rendered by the AO.
   4. I have extensive experience engaging with the expedited removal process in the
      United States. I worked at EOIR from 2011 until 2013. Between 2012 and when I left
      EOIR in 2013 there was a significant increase in the number of cases the Houston
      Asylum Office referred to the El Paso Immigration Court and I reviewed many
      negative credible fear findings made by USCIS when cases were referred to the court
      for the Immigration Judges to review the negative credible fear determinations.
      Subsequently, I have directly represented clients placed in expedited removal
      proceedings since I became a practicing immigration attorney in 2013.
   5. In 2014, I began working in the family detention context, where all families were
      placed in expedited removal. As a result, I represented a high volume of families who
      were subject to expedited removal and articulated a fear of return to their countries of
      origin.
   6. In 2016, I began representing detained adults placed in expedited removal. In addition
      to offering direct legal representation, I also mentor other attorneys—both from
      RMIAN as well as pro bono counsel—who represent people placed in expedited


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   removal. In 2017, RMIAN stood up a pro bono referral program where large law
   firms accepted clusters of cases each week referred by RMIAN, so that adults in
   detention could have access to counsel while navigating their expedited removal
   proceedings.
7. In 2023, expedited removal proceedings were expanded beyond the traditional
   boundaries—instead of just being applied to people in detention, it was utilized more
   broadly pursuant to the Family Expedited Removal Management (FERM) policy. I
   directly represented families before the AO and appealed negative credible fear
   determinations before the Denver Immigration Court. I also helped duplicate the pro
   bono referral program RMIAN created in 2017 to place FERM cases with
   experienced pro bono counsel for their credible fear interviews before the AO and
   occasional appeals to the immigration court.
8. The following is based on my experience since 2014 representing people subject
   to expedited removal in New Mexico, Texas, and Colorado as well as through
   supervising other attorneys who provide similar representation.
9. U.S. Customs and Border Protection (CBP) officers conduct an initial interview
   with noncitizens when they are first apprehended. That conversation is
   memorialized in a Form I-213, Record of Deportable/Inadmissible Alien. At that
   time, the CBP officer is charged with making an initial determination about how
   best to process the case. Prior to the expansion of expedited removal this past
   January, this most commonly occurred within 1-3 days of a person’s initial entry
   into the United States. Once a person is placed into expedited removal, they can
   immediately be removed from the United States if they do not articulate a fear of
   return. If the person expresses a fear, the case is referred to the AO for a credible
   fear interview to assess the viability of fear-based relief from removal from the
   United States.
10. I have personally represented multiple individuals placed in expedited removal
    proceedings who are afraid to return to their countries of origin, but who were not
    immediately referred to the AO for a credible fear interview. For example, in the
    summer of 2018 I directly represented three women in expedited removal
    proceedings pursuant to the family separation policy. Government officials
    initially told each of them that they would be summarily removed and they were
    not originally referred for a credible or reasonable fear interview with an AO.
    Each client reported that they expressed a fear of return during screening
    interviews with CBP officers at the border and when they were held in ICE
    custody at other detention facilities before arriving to Colorado. One of them was
    prosecuted under the zero-tolerance policy but the other two were simply being
    held in ICE custody without a referral to the AO. It was not until these three
    women were transferred and detained in Aurora that they gained access to basic
    legal information from attorneys at RMIAN. I entered on their cases and
    contacted USCIS on their behalf, which was the catalyst to get them scheduled for
    credible fear interviews. Had they not had access to counsel, it is possible that
    DHS would have summarily deported them through expedited removal without
    the possibility of having a credible fear interview—and without reunifying them


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   with their young children. Instead, the AO made positive fear finding and referred
   each of their cases to the immigration court for full removal proceedings.
11. Similarly, when I worked at the family detention centers in Dilley, Texas and
    Artesia, New Mexico, I met with at least a dozen women who told me that they
    had previously come to the United States and expressed fear of return to CBP but
    were deported without a credible fear interview. They continued to experience
    persecution in their countries of origin after deportation, so they returned to the
    United States. However, upon return, because they had previous removal orders,
    they were no longer eligible to apply for asylum in the United States. Similarly, I
    have represented at least three clients in Aurora who faced the same problem—
    they had prior expedited orders of removal where CBP never referred their cases
    for credible fear interviews despite the individuals having a fear of return.
12. In my experience, CBP improperly failed to refer many people for credible fear
    interviews who did not have an adequate interpreter during their inspection by
    CBP, especially those who spoke indigenous languages and were not interviewed
    at the border in their native language. CBP officers almost exclusively
    communicate in Spanish with people who speak Mayan languages from countries
    like Mexico, Guatemala, El Salvador, Honduras, Peru, and Ecuador. When people
    are screened for fear-based claims in a language that is not their best language,
    indicators of fear are often missed.
13. Gender and sexual minorities also disproportionately are improperly screened for
    fear-based relief through the expedited removal process. Most CBP officers are
    men, and this plays a significant factor in failures in the expedited removal
    screening process for identifying fear of return. For example, countless female
    clients have failed to report past sexual abuse because they did not feel
    comfortable going into detail about the reasons for their fear of return or they
    have also reported that CBP officers were dismissive of their claimed fear. The
    same is true for people who are LGBTQI+, who do not want to disclose their
    sexual orientation or do not wish to reveal their gender identity to CBP officers.
14. For the past nine years, I have served as court-appointed counsel for people who
    an immigration judge has deemed mentally incompetent. This group of people is
    disproportionately harmed by the cursory screening afforded to people placed in
    expedited removal proceedings. Many clients lack insight to their mental illness
    or cognitive impairments or do not realize that their diagnoses have any
    significance when it comes to the risks posed should they be deported to their
    countries of origin. I have worked with numerous clients who are not eligible for
    asylum because they were previously subjected to expedited removal. In those
    cases, the curtailed process provided often failed to capture information necessary
    to properly screen these individuals for fear-based relief.
15. CBP officers often fail to meaningfully engage with people on an individualized
    basis when conducting initial screening interviews. I repeatedly see Form I-213
    interview transcripts that contain boilerplate, stock language stating that our
    clients came to the United States to work, that the person intends to stay in the
    country only for a very limited period of time, and that the person does not fear

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   return. Throughout my time working with clients in expedited removal, I have
   been told by at least 50 clients with that boilerplate language in their paperwork
   that they never made those statements to CBP. Many of these same clients go on
   to prevail on bona fide asylum claims, but their claims are more difficult because
   EOIR doubts their credibility because of the conflicting language in the
   paperwork.
16. When I worked at the family detention centers, I would see the same identical
    language on paperwork for children. On numerous occasions, the paperwork for a
    pre-verbal child said that the child had stated to a CBP officer that they came to
    the United States to work. On one occasion, I represented a non-detained woman
    placed in expedited removal before being released from CBP custody. Her border
    interview with a CBP officer contained the same stock language saying she had
    no fear of return. I filed a Freedom of Information Act request for her and
    received more of her immigration records from her encounter at the border. The
    records I received included a handwritten note that she had someone write for her
    in English (she only spoke Spanish) stating that she was afraid and asking to
    please not to be sent back to her country of origin. Eventually, she won protection
    under the Convention Against Torture.
17. I have spoken to many people in expedited removal proceedings who are told to
    sign paperwork that they do not understand. It is largely arbitrary who signs the
    paperwork and who does not. When I was in Artesia, I remember a client telling
    me that CBP turned off the air conditioning in the holding facility and it became
    dangerously hot. The CBP officers then told people that if they signed paperwork,
    they would be awarded burritos. The women who signed the paperwork were
    signing their deportation orders. The women who refused were allowed to legally
    pursue asylum but were punished by never being provided the food the other
    women received.
18. The credible fear interview process does not afford necessary safeguards or access
    to reasonable accommodations for people who have qualifying disabilities. Over
    the years, I have worked with countless people who have experienced extreme
    trauma and/or have symptoms of a qualifying disability under Section 504 of the
    Rehabilitation Act of 1973. I am familiar with many cases where people were
    forced to move forward with their credible fear interviews without access to
    counsel or any safeguards or accommodations to ensure that the interview was
    conducted in a manner that comported with fundamental fairness. There is no
    formal process for notifying the AO about competency concerns, other than
    emailing a contact to advise the office of the issue. However, if someone does not
    have an attorney advocating on their behalf, there is no formal screening
    mechanism that the AO uses to determine whether someone is able to
    meaningfully understand the credible fear process and, unlike Immigration Court,
    there is no inquiry regarding whether individuals are mentally capable of
    representing themselves in these life-or-death proceedings.
19. Access to counsel is limited during the expedited removal process. In the past,
    clients reported being held at the border in hieleras (iceboxes) or perreras (dog
    kennels) for a month or more, where there is no access to attorneys. People also

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   report being transferred between multiple facilities after being detained, making it
   hard to connect to attorneys even in places where there are attorneys available, like
   Aurora.
20. Even people who have attorneys struggle to exercise their rights in immigration
    proceedings. I have struggled to have the AO provide any advance notice of my
    clients’ credible fear interviews, even when I have entered my appearance with
    their office. AOs do not notify attorneys of when the interviews are going to take
    place until they are about to start and then, if the attorney is not immediately
    available, often ask the client (who may have already been detained for weeks or
    months) whether they want to proceed with the interview without an attorney
    present. I have prepared clients to exercise their right to counsel and request that
    the AO call me before proceeding with the interview, with mixed success. Clients
    are often hesitant to do anything that they think could jeopardize their chance of
    success at the interview and fear AO retaliation if they do not proceed with the
    interview. In most instances, if I have been lucky enough to attend the interview
    when an AO calls, I am only able to participate in the interview telephonically,
    rather than in person.
21. In 2024, I represented a mother and her daughter processed through the FERM
    program. I appeared with them in-person at the USCIS Office in Centennial,
    Colorado. The AO conducted the interview telephonically. Despite the fact that the
    credible fear interview pertained to a family unit, USCIS had no plan in place for
    providing childcare to ensure the child was not in the room listening to sensitive
    information during the interview. I had to make a special request to allow the 12-
    year-old to sit in the waiting room while her mother recounted years of domestic
    violence she suffered at the hands of the girl’s father. My understanding is that
    most families processed for expedited removal through FERM were all in one
    room during the credible fear interview, which likely had a significant impact on
    the type of information people were willing to share with the AO over the
    telephone.
22. In that same case, I returned with my clients to USCIS one week later to receive
    the AO’s decision. USCIS did not provide a copy of the interview transcript to my
    clients, even though it is required by regulation. I requested proper service, which
    was effectuated. However, for months afterward staff members from RMIAN
    reported that people who received negative fear findings and were referred to the
    immigration court for a judge to review those findings were regularly not served
    with the interview transcript. Moreover, that information was not served on the
    court. This procedural defect occurred time and again, with multiple judges
    vacating the negative decisions because they had no basis for the finding.
23. Also in 2024, I represented a family subject to FERM before the immigration court
    after an AO made a negative fear finding in the credible fear interview process.
    The family clearly articulated a political opinion claim—they fled Colombia
    because members of the Revolutionary Armed Forces of Colombia (FARC)
    murdered a family member and targeted the family on multiple occasions. The AO
    failed to identify a nexus ground for the family’s claim, despite the very clear
    political opinion claim. The immigration judge overturned the AO’s decision. I

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   regularly see glaring legal errors committed by AOs, resulting in significant delays
   and waste in the legal system.
24. I represented a FERM family before the immigration court where the son’s case
    was not processed with the parents’ case. A 4-year-old boy’s case was scheduled
    for a negative fear review (indicating he was placed in expedited removal) as a
    stand-alone case. It is illegal to place unaccompanied minors into expedited
    removal, yet somehow his case has been processed as such by the immigration
    court. As attorney of record, I was able to identify the problem for the court and
    have it remedied. People without access to counsel would likely not understand
    docketing errors, which could have potentially resulted in an in absentia
    deportation order for a very young child, despite his family’s case being vacated
    and referred for full removal proceedings.
25. At the end of May 2025, ICE officials began arresting people while they were
    appearing before the Denver Immigration Court for regular removal proceedings.
    This included both single adults and families with small children. In my fourteen
    years of practice, this is truly unprecedented. It is not uncommon for CBP to detain
    people when they are being processed at the border and place them into expedited
    removal. I have never before heard of ICE detaining people when they are
    appearing for their removal proceedings for the sole purpose of forcing people to
    pursue protections through the expedited removal process.
26. One of the worst problems I see is that asylum seekers, who fled traumatic
    experiences in their countries of origin and, in many cases, faced more trauma
    during their journey to the United States, are re-traumatized when they are taken
    into immigration custody and put into the expedited removal process. Throughout
    my years of experience representing people in credible fear proceedings, I have
    heard innumerable complaints from clients recounting that CBP officers told them
    they are worthless, they should give up, or they have no chance of staying in the
    United States. They are imprisoned in CBP jails and face verbal abuse and
    dehumanizing conditions, where they are overcrowded and cannot move. Women
    report that during their time in CBP custody they do not have access to showers,
    clean clothes, or products for menstruation, and then CBP officers tell them that
    they are filthy and that they stink like animals. I have spoken to dozens of clients,
    each of whom had tears streaming down their face as they described the
    dehumanizing conditions they endured when they were held in CBP custody.
    Clients who are placed in expedited removal are so afraid to return to their home
    countries that they are willing to endure horrific conditions to prevent being
    deported back to the harm they fled.
27. Clients face similar harms in ICE custody. RMIAN has assisted clients with filing
    group complaints to the Department of Homeland Security oversight bodies
    underscoring the poor conditions of confinement at the Aurora facility. Clients
    have shared examples of inadequate medical care, instances of staff at the
    detention facility failing to follow COVID-19 public health policies during the
    pandemic, incidents of racial discrimination, overuse and misuse of solitary
    confinement, and harms people who are transgender and nonbinary suffered while
    detained.

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I declare under penalty of perjury under the laws of the United States that the foregoing is
true and correct to the best of my information, knowledge, and belief.


Executed on this 4th day of June, 2025 in Denver, Colorado.



                                      Laura Lunn
                                      Director of Advocacy & Litigation
                                      ROCKY MOUNTAIN IMMIGRANT ADVOCACY NETWORK




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